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                                                     September 26, 2020
BY ECF

Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
40 Foley Square, Courtroom 1305
New York, New York 10007

       Re:     United States v. William Sadleir, No. 20 Cr. 320 (PAE)

Dear Judge Engelmayer:

        I represent the defendant, and write in consultation with the government to jointly request
a further approximately two-week adjournment of the next status conference in this case, currently
scheduled for September 30th. The purpose of this request is to allow the parties to continue their
ongoing discussions regarding discovery and the case generally, and to permit the defendant to
finalize issues related to his representation in this case and the separate case against him pending
in the Central District of California.

        The defendant has no objection to the exclusion of time for Speedy Trial Act purposes
between September 30, 2020, and the next conference. Pursuant to 18 U.S.C. §3161(h)(7)(A), the
parties respectfully submit that the ends of justice would be best served by such an exclusion, and
would outweigh the best interest of the public and the defendant in a speedy trial in light of the
complexity of this case, the interrelation of this case and the one pending in California, the
defense’s need to investigate the claims and review any discovery produced by the government,
and the parties’ ongoing discussions.

       Thank you for your consideration of these requests.

                                                     Respectfully,

                                                      /s/ Matthew L. Schwartz
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                                                     New York, New York 10001
